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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                      CASE NO. 18-21454-CIV-COOKE/GOODMAN

  PEPITO RODRIGUEZ JR.,

        Plaintiff,
  v.

  REX AUTO SERVICE CORP., et al.,

        Defendants.
  ________________________________/

                       ORDER REGARDING COUNSEL’S
            FAILURE TO APPEAR AT TELEPHONIC FAIRNESS HEARING

        The Undersigned scheduled a telephonic fairness hearing for November 7, 2018,

  at 10:00 a.m. [ECF No. 28]. Attorney Julio Gutierrez, who represents Defendants Rex

  Auto Service Corp. and Oswaldo Carrizo, failed to call in to the hearing. The

  Undersigned entered an Order to Show Cause directing Mr. Gutierrez to submit an

  affidavit explaining why he failed to call in and why he should not be required to

  reimburse Plaintiff in the amount of $100 for his counsel’s time. [ECF No. 32].

        Mr. Gutierrez submitted an affidavit explaining that he was not aware that he

  was required to attend the hearing and he agrees with the Undersigned’s proposed

  order that he reimburse Plaintiff for his counsel’s time. [ECF No. 34]. Therefore, by

  November 27, 2018, Mr. Gutierrez shall pay $100 to Mr. Pollack for his attorney’s fees

  for attending the hearing. Mr. Gutierrez shall also, within two days of making the
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  payment, submit an affidavit or declaration of compliance confirming payment to the

  Undersigned’s e-file inbox (goodman@flsd.uscourts.gov), not on CM/ECF. The

  Undersigned does not deem this expense-shifting award to be an indication that Mr.

  Gutierrez acted in bad faith. Rather, it is merely a consequence of his failure to timely

  appear for the scheduled telephonic fairness hearing. It is not a disciplinary sanction of

  any kind.

        DONE AND ORDERED in Chambers, at Miami, Florida, on November 14, 2018.




  Copies furnished to:
  The Honorable Marcia G. Cooke
  All counsel of record




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